        Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 1 of 11



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

PATRICIA FAYE ALLEN,

        Plaintiff,
                                                     CIVIL ACTION NO.
 v.                                                   5:18-cv-00389-TES

THE KROGER COMPANY,

        Defendant.

      ORDER GRANTING IN PART DEFENDANT’S MOTION TO DISMISS
______________________________________________________________________________

      The Kroger Company, Defendant in this action and hereinafter referred to as

“Kroger,” moves the Court to dismiss Plaintiff’s complaint for failure to state a claim.

[Doc. 2]. For the following reasons, Kroger’s motion is GRANTED IN PART.

                              FACTUAL BACKGROUND

      Plaintiff Patricia Faye Allen brought this action after her daughter’s death from an

alleged adverse reaction between two prescription medications. See generally [Doc. 1-1].

She alleges that on March 23, 2016, one of Kroger’s pharmacies in Macon, Georgia filled

a prescription for amitriptyline for her daughter, Tracy Faye Edge. [Id. at ¶ 7]. On April

11, 2016, the same pharmacy filled Ms. Edge’s prescription for morphine, which was

prescribed by two doctors working for non-party Navicent Health, Inc. [Id. at ¶¶ 4-6].

Ms. Edge died on April 20, 2016, six days after filling her morphine prescription, from
         Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 2 of 11



the alleged fatal interaction between the morphine and amitriptyline she was prescribed.

[Id. at ¶¶ 3, 9].

        Plaintiff alleges that Kroger knew or should have known that morphine and

amitriptyline are fatal when mixed and had a duty to, but failed to, do the following: (1)

warn Plaintiff of the adverse effects of mixing the two medications [id. at ¶¶ 15, 17]; (2)

refuse to dispense the morphine after dispensing the amitriptyline [id. at ¶¶ 18, 20, 25,

35]; (3) monitor Plaintiff’s prescription drug history [id. at ¶ 19]; (4) disclose material facts

about the prescriptions [id. at ¶ 24]; (5) create and follow guidelines to ensure

prescriptions do not have adverse reactions to each other [id. at ¶¶ 33, 34]; and (6) call

Ms. Edge’s doctor to inquire about the appropriateness of prescribing morphine and

amitriptyline simultaneously [id. at ¶¶ 36, 37]. Plaintiff alleges that the “duty to warn and

[to] compare prescription profiles” arises under the Omnibus Budget Reconciliation Act

of 1990 (“OBRA ‘90”), 42 U.S.C. § 1396r-8(g).

        Kroger now moves to dismiss Plaintiff’s complaint for failure to state a claim,

arguing that it had no statutory or common-law duty to monitor Ms. Edge’s prescriptions

or prevent her from combining adverse medications. [Doc. 2-1]. The Court partially

agrees and finds as follows.




                                               2
        Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 3 of 11



                                       DISCUSSION

       A.     Standard of Review

       When ruling on a 12(b)(6) motion, the Court must accept the facts set forth in the

complaint as true. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 572 (2007). A complaint survives

a motion to dismiss only if the plaintiff alleges sufficient factual matter to state a claim

for relief that is plausible on its face, and she must state more than “unadorned, the-

defendant-unlawfully-harmed-me accusations.” McCullough v. Finley, 907 F.3d 1324, 1333

(11th Cir. 2018) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009)). She must also “plead

more than labels and conclusions or a formulaic recitation of the elements of a cause of

action,” id., such that the factual allegations contained in the complaint are “enough to

raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555.

       When assessing a motion to dismiss for failure to state a claim, the Court employs

a two-step framework. McCullough, 907 F.3d at 1333. First, the Court identifies and

disregards allegations that are “no more than mere conclusions,” since “[c]onclusory

allegations are not entitled to the assumption of truth.” Id. (quoting Iqbal, 556 U.S. at 679).

Second, the Court “assume[s] any remaining factual allegations are true and determine[s]

whether those factual allegations ‘plausibly give rise to an entitlement to relief.’” Id.

(quoting Iqbal, 556 U.S. at 679).




                                              3
         Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 4 of 11



       B.     Kroger’s Duty Under OBRA ‘90

       First, Plaintiff alleges that Kroger had a “duty to warn and compare prescription

profiles” under the Omnibus Budget Reconciliation Act of 1990 (“OBRA ‘90”). [Doc. 1-1,

¶ 16]. That duty allegedly carries with it Kroger’s obligation to provide “(1) patient

counseling, (2) medication adherence, and (3) side effect management.” [Id.]. Plaintiff

filed a similar lawsuit before the undersigned earlier this year against multiple

defendants, including Kroger, Ms. Edge’s prescribing physicians, and several

pharmaceutical manufacturers based on the same operative facts as alleged in this

complaint. See Allen v. Endo Pharm., Inc., No. 5:18-cv-00132-TES (M.D. Ga. Apr. 19, 2018),

ECF No. 1. In that case, Plaintiff moved to amend the complaint to allege, as she does in

this case, that the defendants had a duty to warn and compare prescription profiles under

OBRA ‘90. Id. at ECF No. 57-2, ¶¶ 19, 21, 39. The Court denied her motion to amend as

futile, finding that

       Plaintiff’s OBRA claim could not survive a motion to dismiss because
       Plaintiff cannot state a claim against the Defendants under that statute. The
       section of OBRA Plaintiff relies on did not require the Defendants to review
       the deceased’s drug profile as Plaintiff asserts. 42 U.S.C. § 1396r-8(g).
       Rather, OBRA mandated that the individual states adopt expanded
       standards of pharmaceutical care for Medicaid recipients as a condition on
       the receipt of federal Medicaid funds. The drug profile review that Plaintiff
       refers to was part of the guidance to states, not private actors, on how to
       comply with OBRA’s mandate. Id. Thus, although Defendants could have
       conceivably violated a state law that enacted the OBRA mandate, the
       Defendants, at least as private actors, could not have violated OBRA itself.




                                            4
        Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 5 of 11



Allen, ECF No. 74, p. 14 (emphasis in original). The Court also found that OBRA ‘90 does

not create a private right of action through which Plaintiff could assert her claims. Id. at

pp. 14-15. Thus, in this case (as in the previous case), Kroger owed no duty to “warn and

compare prescription profiles” under OBRA ’90. Given the Court’s previous ruling that

private actors cannot violate OBRA ’90, Plaintiff’s claims arising under that statute are

patently frivolous and dismissed with prejudice. See Kalpak v. EMC Mortg. Corp., No. 3:11-

cv-49 (CAR), 2011 WL 2711182, at *2 n.3 (M.D. Ga. July 13, 2011).

       C.     Kroger’s Duty Under Georgia Statute and Common Law

       Kroger also argues that it owed Ms. Edge no duty whatsoever under Georgia law

to review her drug profile, warn of adverse effects, or refrain from filling her

prescriptions because “[t]hose duties rest with the prescribing physician.” [Doc. 2-1, p.

3]. Kroger relies on two cases for this proposition, both of which are inapposite.

       First, Kroger relies on an excerpt from Walker v. Jack Eckerd Corp., 434 S.E.2d 63 (Ga.

Ct. App. 1993), which states in pertinent part:

       [A] pharmacist has no duty to warn the customer or notify the physician
       that the drug is being prescribed in dangerous amounts, that the customer
       is being over medicated, or that the various drugs in their prescribed
       quantities could cause adverse reactions to the customer. It is the duty of
       the prescribing physician to know the characteristics of the drug he is
       prescribing, to know how much of the drug he can give his patient, to elicit
       from the patient what other drugs the patient is taking, to properly
       prescribe various combinations of drugs, to warn the patient of any dangers
       associated with taking the drug, to monitor the patient’s dependence on the
       drug, and to tell the patient when and how to take the drug. Further, it is
       the duty of the patient to notify the physician of the other drugs the patient
       is taking.
                                              5
         Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 6 of 11




434 S.E.2d at 67-68 (citations omitted). But the Walker court specifically disclaimed its

holding by adding, “[T]his case is not intended to serve as controlling precedent for cases

involving pharmacists’ duties arising after January 1, 1993,” given the Georgia State

Board of Pharmacy’s promulgation of new rules effective on that date. Id. at 69. Those

new rules, codified at Ga. Code Ann. §§ 26-4-83 to -85 and Ga. Comp. R. & Regs. 480-31-

.01, include the following provision:

        (b) A pharmacist shall review the patient record and each prescription drug
        order presented for dispensing for the purposes of promoting therapeutic
        appropriateness by identifying:

                (1) Overutilization or underutilization;
                (2) Therapeutic duplications;
                (3) Drug-disease contraindications;
                (4) Drug-drug interactions;
                (5) Incorrect drug dosage, dosage form, or duration of drug
                treatment;
                (6) Drug-allergy interactions;
                (7) Clinical abuse or misuse.

        (c) Upon recognizing any of the above situations, the Pharmacist shall take
        appropriate steps to avoid or resolve the situation or problem which shall,
        if necessary, include consultation with the prescribing practitioner.

Ga. Code Ann. § 26-4-84. 1 This provision clearly imposes a duty on pharmacists to review

a patient’s drug history to identify “drug-drug interactions” and, upon identification of

such interactions, “take appropriate steps” to mitigate any danger. In doing so, it

unequivocally abrogates the standard imposed by Walker regarding the duties


1The regulation codified at Ga. Comp. R. & Regs. 480-31-.01(b) is substantially similar to the one codified
at Ga. Code Ann. § 26-4-84, with minor, inconsequential changes.

                                                    6
          Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 7 of 11



pharmacists owe to patients in seven specific situations, including the one at issue in this

case. 2 Thus, although Kroger’s pharmacists may not have had a duty to Ms. Edge under

Georgia common law, the Court finds that the Georgia General Assembly clearly

imposed a duty on pharmacists under particular circumstances, specifically including the

duty to monitor potential drug-drug interactions.

        Next, Kroger relies on Chamblin v. K-Mart Corp., 612 S.E.2d 25 (Ga. Ct. App. 2005),

for its argument that “the duty to warn patients about adverse effects of a prescribed

medication rests upon the prescribing physician and not upon the pharmacist.” [Doc. 2-

1, p. 7]. However, Chamblin dealt with the “narrow issue of a pharmacist’s duty to warn

a customer of a drug’s potential side effects.” 612 S.E.2d at 28. In considering that narrow

issue, the Chamblin court looked to a separate provision of the State Board of Pharmacy

regulations relating to patient counseling, which states:

        1. Upon receipt of a Prescription Drug Order and following a review of the
        patient’s record, the dispensing Pharmacist shall personally offer to discuss
        matters which will enhance or optimize drug therapy with each patient or
        caregiver of such patient. Such discussion shall be in person, whenever
        practicable, or by telephone and shall include appropriate elements of
        patient counseling, based on the professional judgment of the pharmacist.
        Such elements may include but are not limited to the following:

                (i) the name and description of the Drug;



2 Kroger and the Georgia Court of Appeals both recognize that the standard contained in Walker is
abrogated. See [Doc. 2-1, p. 8]; Chamblin v. K-Mart Corp., 612 S.E.2d 25, 28 (Ga. Ct. App. 2005). Nonetheless,
Kroger encourages the Court to effectively ignore the Georgia Legislature’s abrogation and implicit
overruling of Walker and hold that pharmacists such as Kroger’s are still protected by the learned
intermediary doctrine. This the Court cannot and will not do. The Georgia General Assembly passed a clear
statute and this Court will enforce it as written.

                                                      7
             Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 8 of 11



                     (ii) the dosage form, dose, route of Administration, and duration of
                     drug therapy;
                     (iii) intended use of the Drug and expected action;
                     (iv) special directions and precautions for preparation,
                     Administration, and use by the patient;
                     (v) common severe side or adverse effects or interactions and
                     therapeutic contraindications that may be encountered, including
                     their avoidance, and the action required if they occur;
                     (vi) techniques for self-monitoring drug therapy;
                     (vii) proper storage;
                     (viii) prescription refill information;
                     (ix) action to be taken in the event of a missed dose; and
                     (x) Pharmacist comments relevant to the individual’s Drug therapy,
                     including any other information peculiar to the specific patient or
                     Drug.

           [. . .]

           4. A Pharmacist shall not be required to counsel a patient or caregiver when
           the patient or caregiver refuses such consultation.

Ga. Comp. R. & Regs. 480-31-.01(c). 3 Under this provision, pharmacists are only required

to offer counseling regarding severe side effects, but they are not required to “take

appropriate steps to avoid or resolve” such side effects as they are with potential drug-

drug interactions. Put simply, the risk of harm at issue in this case (i.e. drug-drug

interaction) is covered by Ga. Code Ann. § 26-4-84, while the risk of harm at issue in

Chamblin (i.e. serious side effects from the use of a single drug) is covered solely by

subsection (c) of the applicable Georgia Board of Pharmacy rule (also codified at Ga. Code

Ann. § 26-4-85), and those regulations impose distinct duties and requirements on




3   This provision is now also codified at Ga. Code Ann. § 26-4-85(b), (e).

                                                        8
          Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 9 of 11



pharmacists. Accordingly, the ruling in Chamblin, which determined that Georgia

pharmacists do not have a duty to warn of potential side effects from a single medication,

is not applicable in this case. 4 Instead, the Court finds that Kroger had a duty under Ga.

Code Ann. § 26-4-84 to review Ms. Edge’s prescription record, identify potential drug-

drug interactions, and take “appropriate steps” to mitigate the risk of those interactions.

        Plaintiff alleges in her complaint that Kroger failed to monitor Ms. Edge’s

prescription drug history, to create guidelines to ensure that prescriptions do not have

adverse reactions, and to act accordingly by either warning Ms. Edge or her physicians

or refusing to dispense the medication. These allegations are enough to “nudge

[Plaintiff’s] claims across the line from conceivable to plausible.” McCullough, 907 F.3d at

1335 (quoting Twombly, 550 U.S. at 570). At this point, more factual development is

necessary to determine whether Kroger complied with its duties under Georgia law.




4 Nor is the Southern District of Georgia’s decision in Coney v. Mylan Pharmaceuticals, Inc., No. 6:11-cv-35,
2011 WL 3607166 (S.D. Ga. Aug. 16, 2011), which cites Chamblin and is also concerned with a pharmacy’s
duty to warn of the side effects of a particular drug. Indeed, in addition to Chamblin and Coney, all of the
Georgia and Eleventh Circuit cases considering the scope of pharmacists’ duties after the Georgia General
Assembly and Board of Pharmacy passed the applicable pharmaceutical regulations are inapposite. See
Allen v. United States, No. CV 115-147, 2018 WL 934895 (S.D. Ga. Feb. 16, 2018) (concerning the application
of the counseling requirements of Ga. Comp. R. & Regs. 480-31-.01(c)(3) to hospital inpatients); Roberts v.
Quick Rx Drugs, Inc., 807 S.E.2d 476 (Ga. Ct. App. 2017) (recognizing that Ga. Code Ann. § 26-4-85 sets the
standard of care for pharmaceutical counseling in Georgia and applying it to pharmacists who dispensed
incorrect drugs); Presto v. Sandoz Pharm. Corp., 487 S.E.2d 70, 74 (Ga. Ct. App. 1997) (considering
pharmacists’ duties to warn of the dangers associated with discontinuing the use of a drug and
disregarding the Board of Pharmacy’s regulations as being passed after the events giving rise to the action
occurred).

                                                     9
        Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 10 of 11



       D.     Plaintiff’s Failure to Comply with Ga. Code Ann. § 9-11-9.1

       Finally, Kroger argues that Plaintiff’s complaint should be dismissed for her

failure to comply with the expert affidavit requirements of Ga. Code Ann. § 9-11-9.1.

Kroger’s argument is foreclosed by Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938), in

which the Supreme Court held that federal courts sitting in diversity are to apply state

law to substantive issues and federal law to procedural issues. See Lundgren v. McDaniel,

814 F.2d 600, 605 (11th Cir. 1987). This Court has consistently held that the expert affidavit

rules of Ga. Code Ann. § 9-11-9.1 are purely procedural and therefore not applicable in

cases before the Court under diversity jurisdiction. See, e.g., McLeod v. Ingram, No. 7:16-

CV-185, 2017 WL 3446024, at *1 (M.D. Ga. Aug. 10, 2017); Antoine v. Navicent Health, Inc.,

No. 5:18-cv-00048-TES, 2018 WL 6531668, at *16 (M.D. Ga. Dec. 12, 2018). Therefore,

Plaintiff’s failure to comply with Ga. Code Ann. § 9-11-9.1 does not bar her case.

                                      CONCLUSION

       For the reasons stated herein, Kroger’s Motion to Dismiss [Doc. 2] is GRANTED

IN PART. The Court DISMISSES Plaintiff’s claims under OBRA ’90 for failure to warn

with prejudice. The remaining portions of Kroger’s Motion to Dismiss are DENIED. The

stay of discovery previously entered by the Court [Doc. 12] is hereby LIFTED. The parties

are ORDERED to confer within 20 days of the date of this Order and to develop a

Proposed Scheduling and Discovery Order to be submitted to the Court no later than 30

days from the date of this Order. Said Proposed Scheduling and Discovery Order shall


                                             10
       Case 5:18-cv-00389-TES Document 15 Filed 12/21/18 Page 11 of 11



be submitted in accordance with the guidelines contained in the Court’s Rules 16/26

Order [Doc. 6].

      SO ORDERED, this 21st day of December, 2018.

                                             s/Tilman E. Self, III
                                             TILMAN E. SELF, III, Judge
                                             UNITED STATES DISTRICT COURT




                                        11
